        Case 2:20-cv-02373-DJH-ESW          Document 330         Filed 07/14/25       Page 1 of 5



 1   CHARLES CARREON (CSB #127139)
 2
     7 N. Ridge Crest Drive
     Silver City, New Mexico 88061
 3   Tel: 928-975-2191
     Email: chascarreon@gmail.com
 4
     MELISSA DEAN (FLSB#1031982)
 5   111 N. Orange Ave, Ste. 800
     Orlando, FL 32801
 6   Tel: 772-919-2748
     Email:melissadeanesq@gmail.com
 7
     Attorneys for Plaintiffs Arizona Yagé Assembly and
 8
     Winfield Scott Stanley III
 9   Pro hac vice

10                              UNITED STATES DISTRICT COURT
11                                  DISTRICT OF ARIZONA
12
     ArizonaYagé Assembly, and Winfield             Case No.:20-CV-02373-ROS
13   Scott Stanley III, in his capacity as
     Founder and Director of Arizona Yagé        MOTION FOR EXTENSION OF TIME
14   Assembly,                                   TO FILE OPPOSITION TO DKT. 329
     ,
15
                  Plaintiffs,
16

17
           vs.

18   Merrick Garland Attorney General of the
     United States; et al.
19
                  Defendants.
20

21
           Plaintiffs hereby move the Court pursuant to F.R.Civ.P. 6(b) for an extension of
22
     time from July 14, 2025 to July 21, 2025 to file an opposition to the Defendants’ “Joint
23
     Statement” (Dkt. 329).
24

25
                                                       /s/Charles Carreon
                                                       CHARLES CARREON (CSB #127139)
26                                                     Attorney for Plaintiffs
                                                       Arizona Yagé Assembly,
27                                                     Winfield Scott Stanley III
                                                       Pro hac vice
28



                     MOTION FOR EXTENSION OF TIME TO TO FILE OPPOSITION TO DKT. 329
                                                   1
        Case 2:20-cv-02373-DJH-ESW           Document 330         Filed 07/14/25       Page 2 of 5



 1                        MEMORANDUM OF POINTS AND AUTHORITIES
 2   I. MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
 3
     MOTION FOR LEAVE TO FILE UNTIMELY OPPOSITION
 4
            Plaintiffs Arizona Yagé Assembly and Winfield Scott Stanley III respectfully
 5
     submit this Memorandum of Points and Authorities in support of their Motion for Leave
 6
     to File Untimely Opposition to Defendants’ Joint Statement Regarding Plaintiffs’
 7
     Amended Privilege Log.
 8
            Fed. R. Civ. P. 6(b)(1)(B) permits the Court to extend deadlines for filings after
 9
     the fact upon a showing of excusable neglect. The Ninth Circuit considers four factors:
10
     (1) danger of prejudice to the opposing party, (2) length of the delay and its impact on
11
     proceedings, (3) reason for the delay, and (4) whether the movant acted in good faith. See
12
     Pincay v. Andrews, 389 F.3d 853, 855–60 (9th Cir. 2004) (en banc).
13

14
     II. STATEMENT OF FACTS

15          On July 10, 2025, the Court ordered the parties to file a Joint Statement

16   concerning disputes regarding Plaintiffs’ Amended Privilege Log by 9:30 a.m. Arizona
17   time on July 14, 2025. See Dkt. 328. Junior counsel Melissa Dean, who prepared the
18   privilege log using the Disco platform and led all prior meet-and-confer communications
19   on the subject, was simultaneously completing a significant document production due
20   July 12 and preparing to attend a prestigious professional conference at Harvard
21   beginning July 14.
22
            Due to the overlap of these obligations and reduced availability over the weekend,
23
     Mr. Carreon—lead counsel—was unaware that no plan was in place for meeting the
24
     Court’s July 14 deadline. He was traveling out of the office on July 11th for a vehicle
25
     repair and did not access the relevant orders or Defendants’ filing until 3:30 p.m.
26
     Monday, July 14, 2025, after the deadline had passed.
27
            Upon discovering the missed deadline, Mr. Carreon immediately assumed
28
     responsibility and began preparing the present motion and the accompanying analysis. He

                      MOTION FOR EXTENSION OF TIME TO TO FILE OPPOSITION TO DKT. 329
                                                    2
        Case 2:20-cv-02373-DJH-ESW            Document 330         Filed 07/14/25       Page 3 of 5



 1   has reviewed the substance of Defendants’ Joint Statement and estimates that drafting a
 2
     complete and effective opposition brief will require approximately 20 hours of legal
 3
     work, and additional hours of consultation with the clients over the upcoming weekend.
 4
     Plaintiffs now respectfully request a limited five court day extension to file their
 5
     opposition on or before July 21, 2025.
 6
     III. SUMMARY OF ARGUMENT
 7
            The Ninth Circuit recognizes that miscommunications between senior and junior
 8
     counsel may constitute excusable neglect. “To hold that a lawyer’s error is never a
 9
     sufficient basis for relief under Fed. R. Civ. P. 60(b)(1) would be inconsistent with the
10
     policies underlying that Rule.” Pincay, 389 F.3d at 858. Courts favor resolution on the
11
     merits and disfavor procedural forfeiture where it would prejudice important rights. As
12

13
     the court in Briones v. Riviera Hotel & Casino, 116 F.3d 379, 382 (9th Cir. 1996)

14   observed at n.2, the Ninth Circuit applies “an equitable ‘framework’ for determining the

15   question of excusable neglect in particular cases, and we will ordinarily examine all of
16   the circumstances involved rather than holding that any single circumstance in isolation
17   compels a particular result regardless of the other factors.” Plaintiffs’ short delay was not
18   willful, caused no prejudice, and the underlying opposition raises substantial First
19   Amendment associational privacy concerns. There is no indication of bad faith on part of
20   the Plaintiffs, who had nothing to do with the miscommunications of their counsel. The
21
     balance of equities favors allowing Plaintiffs’ opposition to be filed on or before July 18,
22
     2025, and the same is respectfully requested.
23
     IV. ARGUMENT
24
            A. Excusable Neglect Justifies the Late Filing
25
            The Ninth Circuit holds that excusable neglect includes calendaring and
26
     communication errors within law offices, particularly where the result does not prejudice
27
     the opposing party or disrupt proceedings. See Lemoge v. United States, 587 F.3d 1188,
28
     1192 (9th Cir. 2009)(excusable neglect “encompass[es] situations in which the failure to

                       MOTION FOR EXTENSION OF TIME TO TO FILE OPPOSITION TO DKT. 329
                                                     3
        Case 2:20-cv-02373-DJH-ESW            Document 330         Filed 07/14/25       Page 4 of 5



 1   comply with a filing deadline is attributable to negligence” and includes “omissions
 2
     caused by carelessness”); Briones, 116 F.3d at 382. The Court’s equitable analysis in
 3
     Pincay allows consideration of all circumstances.
 4
            Here, the delay resulted from a miscommunication between junior and senior
 5
     counsel, during a time of overlapping professional obligations and travel. Plaintiffs acted
 6
     immediately upon discovery of the missed deadline. They seek only the minimum time
 7
     necessary to file a constitutionally significant opposition brief.
 8

 9          B. No Prejudice to Defendants and Minimal Delay
10          Defendants filed their own version of the Joint Statement on July 14 without any
11   apparent prejudice. They had advance notice of Plaintiffs’ redaction-based privilege
12   positions from the June 3 meet and confer. The requested four-day extension will not
13
     affect discovery timelines, motion practice, or trial settings.
14
            C. The Proposed Opposition Will Be Substantive and Meritorious
15

16
            The opposition addresses Defendants’ material misstatements regarding Plaintiffs’

17   privilege assertions. Contrary to Defendants’ claims, Plaintiffs are not refusing to

18   produce documents containing names; they are seeking to redact only identifying
19   information in sensitive contexts such as medical, spiritual, and ceremonial disclosures.
20   See NAACP v. Ala. ex rel. Patterson, 357 U.S. 449, 462 (1958); Perry v.
21   Schwarzenegger, 591 F.3d 1147, 1160 (9th Cir. 2010).
22          Plaintiffs' approach is narrowly tailored, relying on redaction rather than blanket
23   withholding, and is based on a bona fide ESI review using the Disco platform. The
24   privilege log categories are defensible under Fed. R. Civ. P. 26(b)(5) and proportionality
25
     principles.
26
            The public interest in adjudicating important First Amendment questions on the
27
     merits requires the government to provide a factual basis to order even in camera
28
     inspection of protected documents. See In re Grand Jury Investigation, 974 F.2d 1068,

                       MOTION FOR EXTENSION OF TIME TO TO FILE OPPOSITION TO DKT. 329
                                                     4
        Case 2:20-cv-02373-DJH-ESW            Document 330         Filed 07/14/25       Page 5 of 5



 1   1075 (9th Cir. 1992).
 2
     V. CONCLUSION
 3
            This motion is made in good faith, with no intent to delay. Plaintiffs’ counsel
 4
     sincerely apologizes to the Court for the oversight and respectfully submits that the
 5
     requested extension of five court days is both reasonable and necessary to ensure a
 6
     complete and constitutionally sound presentation of the issues.
 7
            For the foregoing reasons, Plaintiffs respectfully request that the Court grant leave
 8
     to file their opposition to Dkt. 329 no later than July 21, 2025.
 9
     Dated: July 14, 2025                                CHARLES CARREON
10
                                                         /s/Charles Carreon
11
                                                         CHARLES CARREON (CSB #127139)
12                                                       Attorney for Plaintiffs
                                                         Arizona Yagé Assembly,
13                                                       Winfield Scott Stanley III
                                                         Pro hac vice
14

15

16

17

18

19

20

21

22

23

24

25

26

27

28



                       MOTION FOR EXTENSION OF TIME TO TO FILE OPPOSITION TO DKT. 329
                                                     5
